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 8                                 IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                             2:15-CR-00176-TLN
12                   Plaintiff,
                                                           AMENDED PRELIMINARY ORDER
13          v.                                             OF FORFEITURE
14   BOONE B. KHOONSRIVONG,
15                   Defendant.
16

17          Based upon the plea agreement entered into between plaintiff United States of America and

18 defendant Boone B. Khoonsrivong, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

19          1.       Pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), defendant Boone B.

20 Khoonsrivong’s interest in the following property shall be condemned and forfeited to the United States of

21 America, to be disposed of according to law:

22                   a.      Metro PCS/Huawei Model M931 cellular phone, black with a cracked screen, serial
                             number: F4G29D1342417146;
23                   b.      Acer Chromebook computer, serial number: nxsheaa002416002597600;
                     c.      Kyocera cellular phone, serial number: v65c5133;
24                   d.      Samsung cellular phone, serial number: r31d20evfde;
                     e.      AT&T cellular phone, serial number: 327b414247a;
25                   f.      Samsung galaxy cellular phone, serial number: r38f206jr1e;
                     g.      iPad tablet computer, serial number: dlxmq7mcfk11;
26                   h.      Acer laptop computer, serial number: nxm2haa007236006e0160;
                     i.      Dell laptop computer, serial number: 13661154469;
27                   j.      Epson printer, serial number: sn5y092386;
                     k.      Samsung printer, serial number: zevpb8kf4c00qsf;
28                   l.      Credit card reader/writer MSR606 (serial number not visible);
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                     m.     iPhone cellular phone, model a1533, serial number: imei013988002936855;
 1                   n.     Lenova computer, serial number: cp22490519;
                     o.     Asus computer, serial number: esn0bc225782227;
 2                   p.     iPhone cellular phone, serial number: bcge2642a;
                     q.     HP all in one personal computer, serial number: 3cr3430fd8;
 3                   r.     Samsung tablet computer, serial number: r52f6022tdf;
                     s.     iPhone cellular phone, black, serial number: bcga1241;
 4                   t.     Acer computer, serial number: nxmnzaa0044200312b3400;
                     u.     iPad tablet computer, serial number: f4qmvb6zflmq;
 5                   v.     LG tablet znfv410;
                     w.     Samsung galaxy S5 cellular phone, serial number: r38f40yxmkr;
 6                   x.     Nokia phone, serial number: 353045061498448;
                     y.     Samsung tablet computer, rf2f210rvry;
 7                   z.     Acer computer, serial number: nxmkeaa001416036ff7600;
                     aa.    HP laptop computer, serial number: cnu63326pn;
 8                   bb.    iPod touch device, serial number: ccqn3ac7fmjf;
                     cc.    iPod device, serial number: ccqmx2dxfmjf;
 9                   dd.    Lexmark printer/copier, serial number: 15450911645;
                     ee.    iPhone 4 cellular phone, white and cracked on front and back, with a white and pink
10                          case, serial number not recorded;
                     ff.    iPhone cellular phone with cracked back plate and Mophie battery pack, serial
11                          number not recorded;
                     gg.    Numerous credit cards, gift cards, access devices and financial and personal
12                          documents belonging to others and used in the scheme to defraud;
                     hh.    The value, i.e., balance of funds, in each of the seized pre-paid gift cards debit
13                          cards.
14          2.       The above-listed property constitutes or is derived from proceeds obtained directly or

15 indirectly, as a result of a violation of 18 U.S.C. § 1029(b)(2) or was property used or intended to be used

16 to commit a violation of 18 U.S.C. § 1029(b)(2).

17          3.       Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

18 seize the above-listed property. The aforementioned property shall be seized and held by the U.S.

19 Marshals Service, in its secure custody and control.
20          4.       a.     Pursuant to 18 U.S.C. §§ 982(b)(1) and 1029(c)(2), incorporated by 21 U.S.C. §

21 853(n), and Local Rule 171, the United States shall publish notice of the order of forfeiture. Notice of this

22 Order and notice of the Attorney General’s (or a designee’s) intent to dispose of the property in such

23 manner as the Attorney General may direct shall be posted for at least 30 consecutive days on the official

24 internet government forfeiture site www.forfeiture.gov. The United States may also, to the extent

25 practicable, provide direct written notice to any person known to have alleged an interest in the property
26 that is the subject of the order of forfeiture as a substitute for published notice as to those persons so

27 notified.

28                   b.     This notice shall state that any person, other than the defendants, asserting a legal
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 1 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

 2 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

 3 within thirty (30) days from the receipt of direct written notice, whichever is earlier.

 4          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

 5 will enter a Final Order of Forfeiture pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029(c)(1)(C), in which all

 6 interests will be addressed.

 7          SO ORDERED this 21st day of May, 2018.

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11                                                   Troy L. Nunley
12                                                   United States District Judge

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                                                             3                      Amended Preliminary Order of Forfeiture
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